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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

TRAVIS NANEZ,

              Plaintiff,

v.                                                              CV No. 18-968 MV/CG

EVANGELICAL LUTHERAN GOOD
SAMARITAN SOCIETY,

              Defendant.

          ORDER TO NOTIFY THE COURT OF STATUS OF ARBITRATION

       THIS MATTER is before the Court on Plaintiff’s Response to Order for Status of

Arbitration (the “Response”), (Doc. 22), filed October 30, 2020. In the Response,

Plaintiff explains the parties have agreed to an arbitration date in October of 2021 to

resolve this case, but they are awaiting Judge Lynch’s conflict check. (Doc. 22 at 1).

       IT IS THEREFORE ORDERED that, on or before February 1, 2021, Plaintiff

shall notify the Court in writing of the status of this case.

       IT IS SO ORDERED.



                                     _____________________________________
                                     THE HONORABLE CARMEN E. GARZA
                                     CHIEF UNITED STATES MAGISTRATE JUDGE
